         Case 20-72021-bem               Doc 2    Filed 11/24/20 Entered 11/24/20 15:54:40    Desc Main
                                                  Document      Page 1 of 4
                                                                                    Control Number: 16066763

                                    STATE OF GEORGIA
                                               Secretary of State
                                               Corporations Division
                                                  313 West Tower
                                            2 Martin Luther King, Jr. Dr.
                                            Atlanta, Georgia 30334-1530



                                         CERTIFICATE OF ORGANIZATION

I, Brian P. Kemp, the Secretary of State and the Corporation Commissioner of th
hereby certify under the seal of my office that

                                          REYNA'S AUTO SERVICE LLC

                                           a Domestic Limited Liability Company
has been duly organized under the laws of the State of Georgia on 07/06/2016 by the filing of articles of
organization in the Office of the Secretary of State and by the paying of fees as provided by Title 14 of the
Official Code of Georgia Annotated.



WITNESS my hand and official seal in the City of Atlanta
and the State of Georgia on 07/14/2016




                                                                                            Brian P. Kemp
                                                                                          Secretary of State
           Case 20-72021-bem   Doc 2         Filed 11/24/20 Entered 11/24/20 15:54:40           Desc Main
                                             Document      Page 2 of 4


     ARTICLES OF ORGANIZATION                                        *Electronically Filed*
                                                                     Secretary of State
                                                                     Filing Date: 7/6/2016 2:26:57 PM




     CONTROL NUMBER            16066763
     BUSINESS NAME             REYNA'S AUTO SERVICE LLC
     BUSINESS TYPE             Domestic Limited Liability Company
     EFFECTIVE DATE            07/06/2016




     ADDRESS                   3634 E. LIDDELL RD, DULUTH, GA, 30096, USA


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        -:\                        VtatE
                                       ,..


,.   NAME                      ADDRESS
     Reyna Tejada, M.          3634 E. Liddell Rd., Gwinnett, DULUTH, GA, 30096, USA


     Or
     d
     NAME               TITLE                ADDRESS
     REYNA TEJADA       ORGANIZER            3634 E. LIDDELL RD, DULUTH, GA, 30096, USA



     N/A




     AUTHORIZER SIGNATURE      REYNA TEJADA
     AUTHORIZER TITLE          Organizer
            Case 20-72021-bem                             Doc 2        Filed 11/24/20 Entered 11/24/20 15:54:40                Desc Main
                                                                       Document      Page 3 of 4

                                                          STATE OF GEORGIA
                                                                  Secretary of State
                                                                  Corporations Division
                                                                     313 West Tower
                                                               2 Martin Luther King, Jr. Dr.
                                                               Atlanta, Georgia 30334-1530



ANNUAL REGISTRATION                                                                                  *Electronically Filed*
                                                                                                     Secretary of State
                                                                                                     Filing Date: 4/20/2020 11:27:54 AM


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CONTROL NUMBER                                                          16066763
BUSINESS NAME                                                           REYNA'S AUTO SERVICE LLC
BUSINESS TYPE                                                           Domestic Limited Liability Company
EFFECTIVE DATE                                                          04/20/2020
ANNUAL REGISTRATION PERIOD                                              2020


                                           \jDA   ;., 1
        10(a II r" \:', (P'116                                                                               _
ADDRESS                                                   3634 E. LIDDELL RD, DULUTH, GA, 30096, USA




NAME                                                       ADDRESS                                                          COUNTY
Reyna Tejada, M.                                           3634 E. Liddell Rd., DULUTH, GA, 30096, USA                      Gwinnett




AUTHORIZER SIGNATURE                                       REYNA TEJADA
AUTHORIZER TITLE                                           Organizer
Case 20-72021-bem     Doc 2     Filed 11/24/20 Entered 11/24/20 15:54:40    Desc Main
                                Document      Page 4 of 4



         GEORGIA CORPORATIONS DIVISION

  Corporate Resolution Filing


  Business Name:      REYNA'S AUTO SERVICE LLC Control Number:
        16066763
  Business Type:    Domestic Limited Liability Company        Business Status:
        Active/Compliance
  NAICS Code:       Other Services (except Public Administration) NAICS Sub
  Code: General Automotive Repair
  Principal Office Address:   3634 E. LIDDELL RD, DULUTH, GA, 30096, USA


  Date of Formation / Registration Date:   7/6/2016
  State of Formation: Georgia       Last Annual Registration Year:   2020


  REGISTERED AGENT INFORMATION
  Registered Agent Name:      Reyna Tejada, M.
  Physical Address:   3634 E. Liddell Rd., DULUTH, GA, 30096, USA
  County:      Gwinnett




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